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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              ) CRIMINAL NO. 12-0056-WS
                                                )
LORENZO TAYLOR, JR. etc., et al.,               )
                                                )
        Defendants.                             )

                                              ORDER
        This matter is before the Court on the motion of defendant Lorenzo Taylor, Jr. to
dismiss four counts of the superseding indictment, (Doc. 59), in which motion co-
defendants Ryan E. Williams and Reginald M. Robinson have joined. (Docs. 61, 63).
The motion supersedes the defendants’ motion to dismiss four counts of the original
indictment, (Doc. 39), although that document continues to function as their brief. The
government has filed a response, (Doc. 50), the defendants declined to file a reply, (Doc.
42), and the motion is ripe for resolution.


                                     BACKGROUND
        The superseding indictment charges varying combinations of the defendants with
four counts of violating 18 U.S.C. § 1201(a)(1). (Doc. 46). That statute provides in
pertinent part as follows:
                Whoever unlawfully … kidnaps … any person …, when … the
        offender … uses the mail or any means, facility, or instrumentality of
        interstate … commerce in committing or in furtherance of the commission
        of the offense … shall be punished [as provided].
The italicized language was added by the Adam Walsh Child Protection and Safety Act
of 2006 (“the Act”). The defendants argue that Section 1201(a)(1), as amended by the
Act, is facially unconstitutional as exceeding Congress’ authority under the Commerce
Clause. In the alternative, they argue that the statute is unconstitutional as applied to
them.
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                                      DISCUSSION
               [W]e have identified three broad categories of activity that
       Congress may regulate under its commerce power. … First, Congress
       may regulate the use of the channels of interstate commerce. … Second,
       Congress is empowered to regulate and protect the instrumentalities of
       interstate commerce, or persons or things in interstate commerce, even
       though the threat may come only from intrastate activities. … Finally,
       Congress’ commerce authority includes the power to regulate those
       activities having a substantial relation to interstate commerce, …, i.e.,
       those activities that substantially affect interstate commerce.
United States v. Lopez, 514 U.S. 549, 558-59 (1995) (citations omitted).
       With respect to the second category, “[p]lainly, congressional power to regulate
the … instrumentalities of commerce includes the power to prohibit their use for harmful
purposes, even if the targeted harm itself occurs outside the flow of commerce and is
purely local in nature.” United States v. Ballinger, 395 F.3d 1218, 1226 (11th Cir. 2005)
(en banc). Again, “[t]hese precedents [of the Supreme Court] leave no doubt that the
commerce power contemplates congressional regulation of the channels and
instrumentalities of commerce in order to prevent their use to facilitate harmful acts,
which may be consummated – and whose effects ultimately may be felt – outside the
flow of commerce.” Id. at 1228.
       The superseding indictment charges that, as to each kidnapping count, the
defendants used a cell phone in furtherance of the commission of the offense.
“Telephones and cellular telephones are instrumentalities of interstate commerce.”
United States v. Evans, 476 F.3d 1176, 1180 (11th Cir. 2007); accord Ballinger, 395 F.3d
at 1226. This is so “even without evidence that the calls [the defendants] made were
routed through an interstate system.” Evans, 476 F.3d at 1181; accord United States v.
Faris, 583 F.3d 756, 759 (11th Cir. 2009) (“Even if none of Faris’ communications were
routed over state lines, the internet and telephone he used to contact the undercover
officer were still instrumentalities of interstate commerce.”) (internal quotes omitted).


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       Analyzed under the second Lopez category, it is clear that Section 1201(a)(1)
represents a constitutional exercise of Congress’ power under the Commerce Clause,
since it prohibits the use of an instrumentality of interstate commerce for the harmful
purpose of furthering a kidnapping. Although no known appellate decision has addressed
the constitutionality of Section 1201(a)(1) as amended by the Act, the three trial court
opinions known to have done so have all reached the same conclusion. United States v.
Jacques, 2011 WL 1706765 at *10-11 (D. Vt. 2011); United States v. Augustin, 2010 WL
2639966 at *4 (E.D. Tenn. 2010); United States v. Ochoa, 2009 WL 3878520 at *2-3
(D.N.M. 2009).
       The defendants acknowledge that, if evaluated under the second Lopez category,
their facial challenge must fail. They insist, however, that Section 1201(a)(1) is properly
analyzed only under the third category of Lopez. This is so, they say, because the statute
“does not represent an effort by Congress to regulate the instrumentalities of interstate
commerce.” (Doc. 39 at 2 (internal quotes omitted)). According to the defendants, the
second Lopez category is in play only when the statute “directly regulates” the
instrumentalities of interstate commerce, which occurs only when Congress “enacts
statutes which specifically criminalize the use of that instrumentality to carry-out another
specific crime.” (Id. at 35). When a statute “regulates criminal activity,” they insist, it
must stand or fall under the third Lopez category, regardless of any “jurisdictional hook”
regarding use of the instrumentalities of interstate commerce. (Id. at 42).
       The defendants cite no case which actually articulates and adopts the proposition
that – Ballinger’s plain language to the contrary notwithstanding – a statute explicitly
prohibiting the use of instrumentalities of interstate commerce for a harmful intrastate
purpose may not be a proper exercise of Commerce Clause power under the second
Lopez category. They appear to be merely parroting a similar argument raised and
rejected in Jacques. 2011 WL 1706765 at *8.
       The defendants identify a single statute they believe would satisfy their proposed
“directly regulates” test. (Doc. 39 at 36-37). Under 21 U.S.C. § 843(b), “[i]t shall be

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unlawful … to use any communication facility in committing or in causing or facilitating
the commission of any act constituting a felony under” certain drug statutes. The
defendants conclude that this statute criminalizes the use of an instrumentality of
interstate commerce for a particular bad purpose and so directly regulates the
instrumentality. In contrast, they say, are statutes that criminalize the bad purpose so
long as an instrumentality of interstate commerce is employed in furtherance of the bad
purpose. In such cases, Congress is invoking the instrumentality merely as a
jurisdictional hook and is directly regulating only the bad purpose, not the use of the
instrumentality. (Doc. 39 at 42).
       The defendants’ proposed distinction is facially illusory. Under either sort of
statute, the existence of a federal crime requires both a bad purpose and the utilization of
an instrumentality of interstate commerce to further the bad purpose. Under one,
Congress makes it a crime to use such an instrumentality to effect the bad purpose, and
under the other Congress makes it a crime to effect the bad purpose by using the
instrumentality. If there is more than an empty semantic distinction between these
formulations, the defendants have not isolated it. Under either, Congress is “prohibit[ing]
their use [that of instrumentalities of interstate commerce] for harmful purposes.”
Ballinger, 395 F.3d at 1226. Indeed, the Ballinger Court dismissed as “formalistic” the
defendant’s suggestion – indistinguishable from that of the defendants herein – that
“Congress can only proscribe travel in commerce to commit a crime, not the crime
itself.” Id. at 1230 n.7.
       Even were it theoretically possible for the defendants’ proposed distinction to be a
legally significant one, its adoption by this Court would be foreclosed by Eleventh Circuit
precedent upholding, under the second Lopez category, criminal statutes whose
invocation of the instrumentalities of interstate commerce is functionally
indistinguishable from that contained in Section 1201(a)(1).
       “Whoever, using the mail or any facility or means of interstate … commerce …
knowingly persuades, induces, entices, or coerces any individual who has not attained the

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age of 18 years, to engage in prostitution …, shall be [punished as provided].” 18 U.S.C.
§ 2422(b). Even though this reference to the instrumentalities of interstate commerce is,
in the defendants’ terminology, a “jurisdictional hook” rather than the target of the
statute, the provision is constitutional under the second Lopez category. United States v.
Hornaday, 392 F.3d 1306, 1311 (11th Cir. 2004).
       “Whoever, in any of the circumstances referred to in subsection (b) of this section
… intentionally defaces, damages, or destroys any religious real property, because of the
religious character of that property, … shall be punished [as provided].” 18 U.S.C. §
247(a). “The circumstances referred to in subsection (a) are that the offense is in or
affects interstate or foreign commerce.” Id. § 247(b). Though a mere “jurisdictional
hook” in the defendants’ conception, this provision is constitutional under the second
Lopez category since “Congress’ commerce authority includes the power to punish a
church arsonist who uses the channels and instrumentalities of interstate commerce to
commit his offenses.” Ballinger, 395 F.3d at 1230.
       The Ballinger Court identified a full dozen criminal statutes “prohibit[ing]
movement through the channels of commerce and/or use of the instrumentalities of
commerce for various purposes,” which statutes “clearly illustrate Congress’ power to
punish offenders like Ballinger, who rely on the channels and instrumentalities of
commerce in committing criminal acts,” 395 F.3d at 1229, even though at least some of
these statutes do not “actually focus on the travel rather than on the offense.” Id. at 1230
n.7.
       For example, “[w]hoever takes … from the person or presence of another by force
or violence or by intimidation any … controlled substance … shall be [punished as
provided], if … (2) the person who engaged in such taking ... used any facility in
interstate … commerce to facilitate such taking ….” 18 U.S.C. § 2118(a). “Plainly, this
provision is worded to focus on punishing the act of taking property, not the travel in or
use of a facility of interstate commerce,” Ballinger, 395 F.3d at 1230 n.7, yet this statute
“clearly illustrate[s] Congress’ power to punish offenders … who rely on the channels

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and instrumentalities of commerce in committing criminal acts.” Id. at 1229. Section
1201(a)(1) precisely parallels Section 2118(a), and the former statute cannot possibly
exceed Congress’ power in light of the en banc Court’s acknowledgment that the latter
does not.
       As a separate basis of their facial attack, the defendants note that “Congress has
traditionally been reluctant to define as a federal crime conduct readily denounced as
criminal by the States” and that, “unless Congress conveys its purpose clearly, it will not
be deemed to have significantly changed the federal-state balance.” United States v.
Bass, 404 U.S. 336, 349 (1971). They continue that Section 1201(a)(1) works a
“dramatic upset of the federal-state balance regarding kidnapping jurisdiction” but that
the Act and its legislative history “offered no rationale” for doing so, which silence
furnishes independent grounds for declaring the statute unconstitutional. (Doc. 39 at 2-
3).
       The defendants misapprehend Bass, which involved a statute “ambiguous in the
critical respect” of whether the term “receives, possesses, or transports in commerce or
affecting commerce” required a nexus with commerce in cases involving receipt and
possession as well as those involving transportation or only in cases involving
transportation. 404 U.S. at 338-39. The Court resolved the ambiguity by adopting the
former reading based on “two wise principles this Court has long followed,” including
that relied upon by the defendants herein. Id. at 347-50. Absent ambiguity in the statute,
then, Bass does not apply. See also Jones v. United States, 529 U.S. 848, 858-59 (2000)
(invoking Bass in construing an ambiguous statute); cf. Polycarpe v. E&S Landscaping
Service, Inc., 616 F.3d 1217, 1224 (11th Cir. 2010) (“We do not rely on legislative history
at all when a statutory text is unambiguous or manifests some plain meaning.”); United
States v. Trainor, 376 F.3d 1325, 1330 n.2 (11th Cir. 2004) (same).
       There is not the slightest whiff of ambiguity as to whether Section 1201(a)(1)
extends federal jurisdiction over kidnappings to those in which the offender uses an
instrumentality of interstate commerce to commit or further the commission of the

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offense – it patently does so, and the defendants do not argue otherwise. It is therefore
immaterial whether Congress, in the Act or in its legislative history, explicitly
acknowledged that, yes, it realized the Act would expand federal jurisdiction over
kidnappings. Differently expressed, the statutory language itself clearly conveys
Congress’ purpose to expand federal jurisdiction over kidnappings.
       Because Section 1201(a)(1) represents a constitutional employment of Commerce
Clause power under the second Lopez category, it is irrelevant whether it would also
survive scrutiny under the third category. Ballinger, 395 F.3d at 1227 (“We need not and
do not reach the question of whether § 247 constitutes a permissible regulation under the
third Lopez prong of activity affecting commerce, since the statute falls squarely within
Congress’ power under the first two Lopez prongs to regulate the channels and
instrumentalities of commerce.”) (footnote omitted, emphasis in original).
       In support of their as-applied challenge, the defendants argue that Section
1201(a)(1) requires that their use of cell phones facilitate the kidnappings and that the
government will be unable to show that their use of cell phones facilitated the
kidnappings as opposed to facilitating only their robberies of drug dealers. (Doc. 39 at
47-48). Thus, “the facts of this case do not bring it within the statute’s reach.” (Id. at 3).
This is not a challenge to the constitutionality of the statute at all but only to the
government’s ability to prove its case under the defendants’ construction of the statute.
       “There is no summary judgment procedure in criminal cases. Nor do the rules
provide for a pre-trial determination of sufficiency of the evidence.” United States v.
Salman, 378 F.3d 1266, 1268 (11th Cir. 2004) (internal quotes omitted). Instead, “[a]
motion for acquittal under Rule 29 is the proper avenue for contesting the sufficiency of
the evidence in criminal cases ….” Id. Resolution of the defendants’ challenge thus
must await trial.


                                           CONCLUSION
       For the reasons set forth above, the defendants’ motion to dismiss is denied.

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      DONE and ORDERED this 13th day of August, 2012.


                              s/ WILLIAM H. STEELE
                              CHIEF UNITED STATES DISTRICT JUDGE




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